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                    UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS
                  CRIMINAL ACTION NO. 16-10350-RGS

                      UNITED STATES OF AMERICA
                                      v.
                       JUAN ULFANY MATEO SOTO

           MEMORANDUM AND ORDER ON DEFENDANT’S
                      MOTION FOR REVIEW
          OF THE MAGISTRATE JUDGE’S DETENTION ORDER
                             September 20, 2017

STEARNS, D.J.
      Having reviewed Magistrate Judge Hennessy’s Order (Dkt #184), the
defendant’s motion (Dkt #187) and the government’s opposition (Dkt #188),
the motion will be DENIED without a hearing. The fact that defendant is
presently the subject of an ICE detainer as a removable alien for all practical
purposes concludes the matter. The release of defendant from custody under
any set of conditions would be a futile gesture as he would be taken
immediately into custody by ICE (and might possibly be deported before the
pending criminal indictment can be resolved). If more need be said, I agree
with the government that defendant offers nothing that was not (or could not
have been) presented to the Magistrate Judge at the original detention
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hearing.1 See 18 U.S.C. §3142(f)(2)(B). As the Magistrate Judge rightly
concluded, defendant’s offer of third-party collateral to insure his
appearance for trial, even if it mitigates any risk of flight, does not address
the community safety ground on which the detention order was alternatively
based.
                                   ORDER

      For the foregoing reasons, the motion to reopen the detention hearing

or, in the alternative, to revoke the Order of Detention is DENIED.


                               SO ORDERED.


                               /s/ Richard G. Stearns
                               __________________________
                               UNITED STATES DISTRICT JUDGE




      1 As Magistrate Judge Hennessey points out in his Order, defendant is

technically appealing his decision refusing to reopen the original detention
hearing, and not the detention order itself.
                                       2
